                                        Case 18-10040-CSS                    Doc 1        Filed 01/08/18             Page 1 of 19



Fll! ln thls lnformatlon to ldentlfy your case:

United States Bankruptcy Court for the

DISTRICT OF DELAWARE

Case number ûtk      ownJ                                                            Chapter      11

                                                                                                                                  n    Check if this an
                                                                                                                                       amended fìling




Official Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                                                                    4t16

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (¡f known).
For more information, a separate document, lnstructions for Bankruptcy,Forms for Non-lndividuals, is ava¡lable.


1.    Debtor's name                      Seaborne Virgin lslands, lnc

2.   All other names debtor
      used in the last      I   years
      lnclude any assumed
                                         DBA Seaborne Airlines
      names, trade names and
      dolng busrness âs names


3.    Debtor's federal
      Employer ldênt¡f¡cat¡on            XX-XXXXXXX
      Number (ElN)


4.    Debtor's address                   Principal place of business                                       Mailing address, if different from principal place of
                                                                                                           business

                                         World Plaza Building,9th Floor
                                         268 Munoz Rivera Avenue
                                         San Juan, PR 00918
                                         Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                         San Juan                                                          Location of pr¡ncipal assets, if different from principal
                                         County                                                            place of business

                                                                                                           Number, Street, City, State & ZIP Code


5.    Debtor's webs¡te (URL)


6.   Type of debtor                      ffi   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                         l_l   Partnership (excluding LLP)

                                         [l    otner. Specify:




 Official Form 201                                  Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                              page     1
                                     Case 18-10040-CSS                             Doc 1       Filed 01/08/18               Page 2 of 19


Debtor Seaborne Virqin lslands, lnc                                                                             Case number (ltknown)
            Name



      Describe debtor's    business A.          Check one:

                                          ll] Health Care Business (as defined in 11 U.S.C. S 101(274))
                                          [l SingleAsset Real Estate (asdefined in 11 U.S.C. S 101(518))
                                          [*l Railroad (as defined in l1 U.S.C. S 101(44))
                                          l*] Stockbroker (as defined ¡n 11 U.S.C. S 101(534))
                                          ll-j    Commodity Broker (as defined in 11 U.S.C. S 101(6))
                                          lJ      Clearing Bank (as defined in 11 U.S.C.      S 781 (3))

                                          lfl     None of the above

                                          B. Check all that apply

                                          [-   -] Tax-exempt entity (as described in 26 U.S.C. $501)
                                          ll       lnvestment company, including hedge fund or pooled ¡nvestment vehicle (as defìned in 15 U.S.C. g80a-3)
                                          fl      lnvestment advisor (as defined in 15 U.S.C. $8Ob-2(a)(11))

                                          C. NAICS (North American lndustry Classification System) 4-digit code that best describes debtor
                                             See http://www.uscourts.gov/four-diqifnational-association-naics-codes.
                                                        4811

L     Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      [,-l   Chapter z
                                          [_-] Chapter       o

                                          [f]    Chapter 11. Check      att   that apply:
                                                                    n     Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                          are less than $2,566,050 (amount subject to adjustment on 4101119 and every 3 years afler that).
                                                                    n     The debtor is a small business debtor as defined in 11 U.S.C. S 101(51D). lf the debtor is a small
                                                                          business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                          statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                          procedure in 11 U.S.C. S 1116(1)(B).
                                                                    n     A plan is being filed with this petition.
                                                                    n     Acceptances of the plan were solicited prepetition from one or more classes of creditors,   in
                                                                          accordance with 11 U.S.C. S 1126(b).

                                                                    n     The debtor is required to fìle periodic reports (for example, 10K and 10Q) with the Securities and
                                                                          Exchange Commission according to S 13 or I 5(d) of the Securities Exchange Act of 1934. File the
                                                                          attachment to Voluntary Petition for Non-lnd¡v¡duals Filing for Bankruptcy under Chapter 11
                                                                          (Official Form 2014) with this form.
                                                                    n     The debtor is a shell company as defined in the Secu rities Exchange Act of 'l 934 Rule 1 2b-2.
                                          fl     chapter 12



9.    Were prior bankruptcy               lØ     ruo.
      cases filed by or against
      the debtor within the last     I    [-.1 ves
      years?
      lf more than 2 cases, attach a
      separate list.                                     District                                  When                                 Case number
                                                         District                                  When                                 Case number


10.   Are any bankruptcy cases            l-l    ruo
      pending or being filed by a
      business partner or an              [f     ves
      affiliate of the debtor?
      List all cases, lf more than   l,
      attach a separate list                             Debtor     See Schedule I                                                  Relationship

                                                         Distr¡ct                                  When                             Case number, if known




Official Form 201                                      Voluntary Petition for NonJndividuals Filing for Bankruptcy                                                    page 2
                                     Case 18-10040-CSS                               Doc 1         Filed 01/08/18                 Page 3 of 19


Debtor     Seaborne Virgin lslands, lnc.                                                                             Case number (/tknown)
           N   ame




11. Why is the       case filed in    Check all that apply:
      lhis district?
                                      n       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 1 80 days than in any other district.

                                      V       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or          klro
      have possession of any
      real property or personal       l*l   ves        Answer below for each property that needs immediate attention. Attach additional sheets if needed
      property that needs
      immediate attention?                             Why does the property need immediate attention? (Check ail that apply.)
                                                       ll       lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety
                                                            What is the hazard?

                                                       [l       lt needs to be physically secured or protected from the weather.

                                                       l..,.] lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                            livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                       fl       otner
                                                       llVhere is the property?
                                                                                             Number, Street, City, State & ZIP Code
                                                        ls the property insured?

                                                       [..,]    ro
                                                       I ves.           lnsurance agencY
                                                                        Contact name
                                                                        Phone



           Statistical and administrative information
13.   Debtor's est¡mation of                      Check one:
      available funds
                                                  [-l    Funds will be available for distribution to unsecured creditors.

                                                  [{    nfter any administrative expenses are paid, no funds will be available to unsecured creditors.

14.   Estimated number of             t] 1-49                                                    fl    r,ooo-s,ooo                           Ll    zs,oot-so,ooo
      creditors                       n 50-99                                                    f-l soot-ro,ooo                             {-llso,oor-roo,ooo
                                      ll too-tos                                                 I J ro,oor-zs,ooo                           fl    More than100,oo0
                                      [f]   zoo-ooo

15.   Estimated Assets                n $0 - $50,000                                             El    $t,ooo,oot - $10 mittion              n   $soo,ooo,oo1 - $1 bilion
                                      n $50,001 - $100,000                                       [*] $to,ooo,oot - $bo mittion               l*l $t,ooo,ooo,oo1 - $10 bilion
                                      [l $too,oot - $soo,ooo                                     [^-l $so,ooo,oot - $1oo miuion              [_] $to,ooo,ooo,oo1 - $50 bilion
                                      ll $soo,oot - $1 mittion                                   [-l $too,ooo,oo1 - $5oo milion              [*l   More than $50 billion


16.   Estimated liabilities           {,1 $o - $so,ooo                                           l.l $t,ooo,oot - $10 milion                 l,l $soo,ooo,oo1   - $'t bilion
                                      {'l $so,oot -$1oo,ooo                                      f7l $10,000,001 - $50 million               l-l   $t,ooo,ooo,oo1 - $10 binion
                                      [l    stoo,oot - $soo,ooo                                  n $50,000,001       - $100 million          l-l   $to,ooo,ooo,oo1 - $50 bilion
                                      [J    $soo,oot -$'r mirion                                 ñ     $too,ooo,oo1 - $soo milion            l-,-l More than $50 billion




Official Form 201                                   Voluntary Petition for Nonlndividuals Filing for Bankruptcy                                                            page 3
                                Case 18-10040-CSS                        Doc 1         Filed 01/08/18                Page 4 of 19


Debtor Seaborne Virgin lslands, lnc.                                                                  Case number (,tknown)
          Name



          Request for Relief, Declaration, and S¡gnatures

WARNING    -   Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
               imprisonment for up to 20 years, or both. 18 U.S.C. SS 152, 1341,1519, and 3571.

17. Declaration and signature
   of authorized                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
   representative of debtor
                                   I have been authorized to file this pet¡tion on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief       thatthe information is trued and correct.

                                   I   declare under penalty of perjury that the foregoing is true and correct.

                                   Executed     on     January 8, 2018
                                                       MM/DD/YYYY

                               x                                                                             Matthew Foster
                                   Signature of authorized represeniative of debtor                          Printed name

                                   Title     Chief Restructurinq Officer




18. S¡gnature of    attorney X                                                                                    Date January 8,2018
                                                of attorney for debtor                                                 MM/DD/YYYY

                                   Adam G. Landis         3407        Delaware
                                   Printed name

                                   Landis Rath & Cobb LLP
                                           name

                                   919 Market Street
                                   Suite 1800
                                   Wilminston, DE 19801
                                   Number, Street, City, State & ZIP Code


                                   Contact    phone     (3021 467-4400                Emailaddress landis@lrclaw.com

                                   3407           Delaware
                                   Bar number and State




Official Form 201                              Voluntary Petition for Non-lndividuals F¡l¡ng for Bankruptcy                                                    page 4
                          Case 18-10040-CSS    Doc 1      Filed 01/08/18     Page 5 of 19



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELA\ryARE


    In re:                                                  Chapter   11


    SEABORNE VIRGIN ISLANDS, INC.,                          Case   No. 18-
    d/b/a SEABORNE AIRLINES
                                                            Tax I.D. No. XX-XXXXXXX
                                Debtor


                                         SCHEDULE   1   TO PETITION

         On the date hereof; each of the affiliated entities listed below, including the debtor in this
chapter 1 1 case (collectively, the o'Debtors"), flrled a petition in this Court for relief under chapter
11 of title i 1 of the United States Code. Contemporaneously with the filing of their petitions, the
Debtors filed a motion requesting that the Court consolidate their chapter 11 cases for procedural
purposes only.

                              SeaStar Holdings, Inc.
                              Seaborne Puerto Rico, LLC




{   1182.001-w0049r34.}
                           Case 18-10040-CSS    Doc 1   Filed 01/08/18   Page 6 of 19



                                    SEABORNE VIRGIN ISLANDS, INC.

                              Authorization for Filing Voluntary Petition Under
                            Chapter 11 of the Bankruptcy Code and Related Matters

        The undersigned Independent Director of the Board (the "Independent Director") of
Seaborne Virgin Islands, Inc., a Virgin Islands corporation (the "Corporation") hereby adopts the
following resolutions (the "Resolutions") :

      WHEREAS, an executive session of the Independent Director was held during a Special
Board Meeting on January 1,2018;

        \ryHEREAS, the Independent Director has considered the financial and operational
conditions of the Company;

         WHEREAS, the Independent Director has reviewed, considered, and received the
recommendation of senior management of the Company and the advice of the Company's
professionals and advisors with respect to the options available to the Company, including the
possibility of pursuing a restructuring or sale of the Company's business and assets under chapter
11 of title 11 of the United States Code (as amended or modified, the "Bankruptc)¡ Code");

        NO\ry, THEREFORE, IT IS HEREBY RESOLVED, that after consideration of the
alternatives presented to it and the recommendations of senior management of the Company, the
advice of the Company's professionals and advisors, and the vote and approval by the
Independent Director at the Telephonic Special Board Meeting on January 7, 2018 of the
Company's sole shareholder, SeaStar Holdings, Inc., the Independent Director has determined in
its business judgment that it is in the best interest of the Company, its creditors, shareholders,
employees, other interested parties and stakeholders that a voluntary petition be filed by the
Company under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for
the District of Delaware and the filing of such petition is authorized hereby; and it is

        FURTHER RESOLVED, appointment and designation of Matthew Foster as Chief
Restructuring Officer ("CRO") and Sonoran Capital Advisors, LLC ("Sonoran") pursuant to the
November 6, 2017 retention agreement and the execution of any retention agreements, the
payment of any retainers, fees or expenses, and the approval of any related indemnification
agreements, or any matters related thereto, be and hereby are ratified, adopted, ancl approved in
all respects as the acts and deeds of the Company and the Authorized Persons (defined below)
are, and each of them hereby is, authorized and directed immediately upon and after the filing of
the bankruptcy case to execute and cause to be filed a motion for authority to retain Matthew
Foster as the Company's chief restructuring officer and Sonoran to provide the Company with a
CRO and certain additional personnel; and it is

       FURTHER RESOLVED, appointment and designation of Benjamin Munson as Chief
Executive Officer ("CEO") and Embark Aviation Corp. ("Embark") pursuant to the December
18, 2017 amended retention agreement and the execution of any retention agreements, the
payment of any retainers, fees or expenses, and the approval of any related indemnihcation



{   l l82.ool-w0049850.)
                         Case 18-10040-CSS   Doc 1   Filed 01/08/18   Page 7 of 19



agreements, or any matters related thereto, be and hereby are ratified, adopted, and approved in
all respects as the acts and deeds of the Company and the Authorized Persons (defined below)
are, and each of them hereby is, authorized and directed immediately upon and after the filing of
the bankruptcy case to execute and cause to be filed a motion for authority to retain Benjamin
Munson as the Company's chief executive officer and Embark to provide the Company with a
CEO and certain additional personnel; and it is

        FURTHER RESOLVED, that the members of the Board so authorized to act, the CRO,
and any other officer or person designated and so authorized to act (collectively, the "Authorized
Persons") hereby are, and each of them is, authorized and empowered to (a) execute, verify and
file on behalf of the Company all documents necessary or appropriate in connection with the
filing of said bankruptcy petition, including, without limitation, all petitions, affidavits,
declarations, schedules, statements of financial affairs, lists, motions, applications, pleadings,
and other papers or documents in connection with such chapter 11 petition; (b) take and perform
any and all actions deemed necessary and proper to obtain such relief as authorized herein and in
connection with the Company's chapter 11 case; (c) appear as necessary at all bankruptcy
proceedings on behalf of the Company; and (d) pay all such expenses where necessary or
appropriate in order to carry out fully the intent and accomplish the purposes of the resolutions
adopted herein; and it is

      FURTHER RESOLVED, that the Loan and Security Agreement by and among SVI
Volant Funding, LLC and Seaborne Virgin Islands, Inc., Seaborne Puerto Rico, LLC, and
SeaStar Floldings, Inc. dated January8,2018 (the "DIP Credit Agreement"), shall be entered into
by the Company; and the Authorized Persons are, and each of them is, authorized and
empowered to obtain postpetition financing according to the terms of the DIP Credit Agreement,
including debtor-in-possession credit facilities or the use of cash collateral (the "DIP
Financing"); and to enter into any guarantees and to pledge and grant liens on the Company's
assets as may be contemplated by or required under the terms of such DIP Financing; and in
connection therewith, the Authorized Persons are hereby authorized and directed to execute
appropriate loan agreements, cash collateral agreements, and related ancillary documents; and it
is

        tr'UIì.TIIER RESOLVED, that the Asset Purchase Agreement between the Company
and SB Acquisition 2017, Inc. (the "Purchase Agreement"), shall be entered into by the
Company; and the Authorized Persons are, and each of them hereby is, authorized and directed
to enter into the Purchase Agreement and each of the ancillary documents to be entered into in
connection therewith (the 'oTransaction Documents"), and to perform the transactions and
obligations contemplated by the Purchase Agreement and the Transaction Documents, subject to
bankruptcy court approval in the Company's chapter 11 case; and it is

      FURTHER RESOLVED, that the retention of Landis Rath & Cobb LLP pursuant to the
October 21, 2017 retention agreement and the execution of any retention agreements, the
payment of any retainers, fees or expenses, arid the approval of any matters related thereto, be
and hereby are ratified, adopted, and approved in all respects as the acts and deeds of the
Company and the Authorized Persons are, and each of them hereby is, authorized and directed to
immediately upon and afler the filing of the bankruptcy case execute and cause to be filed an



{ r 182,001-w0049850.}                         2
                              Case 18-10040-CSS   Doc 1   Filed 01/08/18   Page 8 of 19



application for authority to retain Landis Rath           & Cobb LLP as the Company's bankruptcy
counsel; and it is

        FURTHER RESOLVED, that the retention of Stinson Leonard Street LLP pursuant to
the December 5, 2017 retention agreement and the execution of any retention agreements, the
payment of any retainers, fees or expenses, and the approval of any matters related thereto, be
and hereby are ratified, adopted, and approved in all respects as the acts and deeds of the
Company and the Authorized Persons are, and each of them hereby is, authorized and directed to
immediately upon and after the filing of the bankruptcy case execute and cause to be filed an
application for authority to retain Stinson Leonard Street LLP as the Company's special
regulatory counsel; and it is

        FURTHER RESOLVED, that the retention of Seabury Corporate Advisors LLC
("Seabury") pursuant to the December 12,20Il retention agreement and the execution of any
retention agreements, the payment of any retainers, fees or expenses, and the approval of any
matters related thereto, be and hereby are ratified, adopted, and approved in all respects as the
acts and deeds of the Company and the Authorized Persons are, and each of them hereby is,
authorized and directed to immediately upon and after the filing of the bankruptcy case execute
and cause to be filed an application for authority to retain Seabury as the Company's investment
banker; and it is

        FURTHER RESOLVED, that the retention of Rust Consulting/Omni Bankruptcy
("Rust/Omni") pursuant to the December 13,2017 retention agreement and the execution of any
retention agreements, the payment of any retainers, fees or expenses, and the approval of any
matters related thereto, be and hereby are ratified, adopted, and approved in all respects as the
acts and deeds of the Company and the Authorized Persons are, and each of them hereby is,
authorized and directed to immediately upon and after the filing of the banlruptcy case execute
and cause to be filed an application for authority to retain Rust/Omni as the Company's claims
and noticing agent; and it is

        FURTHER RESOLVED, that all instruments, agreements, certificates, consents,
waivers or other documents heretofore executed and delivered (or caused to be executed and
delivered) and all acts lawfully done or actions lawfully taken by the Authorized Persons in
connection with the chapter 11 case, the DIP Credit Agreement, the DIP Financing, the Purchase
Agreement, the Transaction Documents, or any further action to seek relief on behalf of the
Company under chapter 11 of the Bankruptcy Code, or in connection with the chapter 11 case, or
any matter related thereto, be, and hereby are, adopted, ratified, confirmed and approved in all
respects as the acts and deeds of the Company; and it is

        F'URTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
Authorized Persons in the name of and on behalf of the Company in furtherance of the purpose
and intent of any or all of the foregoing resolutions, which acts, actions and transactions would
have been approved by the foregoing resolutions except that such acts were taken before the
resolutions were adopted, be, and hereby are, ratified, confirmed, and approved in all respects.




{   l 182.001-w00498s0.   }                         J
                  Case 18-10040-CSS           Doc 1   Filed 01/08/18    Page 9 of 19




         IN WITNESS WHEREOF',          thE undersigned have executed this unanimous resolution as
of the                 wri   abo




             w                     Director




{r 182.00r-w0Me8so.}                           4
                                              Case 18-10040-CSS                           Doc 1         Filed 01/08/18               Page 10 of 19

    Fill in this i             to                    the
    Debtor name           SeaStar Hold                     lnc.
    United States                        Court for the:           DISTRICT OF DELAWARE
                                                                                                                                                            l_l   Check if this is an
   Case number (if known):
                                                                                                                                                                  amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims a nd
  Are Not lnsiders                                                                            '12115

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or chapter g case.
                                                                                                               lnclude claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. 101(3i
                                                                                                                        Also, do not
  include claims by secured creditors, unless the unsecured clãim resulting from ínadequate collateral valüe ptâces).
                                                                                                            S
                                                                                                                       the creditor
  among the holders of the 20 largest unsecured claims.

   Name of creditor and      Name, telephone number Nature of claim                                lndicate if claim   Amount of
   complete maillng address, and email address of   (for example, trade                             ts contingent,     lf the claim is fully unsecured, fill in only unsecured claim amount. lf
   includ¡ng zip code        cred¡tor contact       debts, bank loans,                             un llquidated, or   claim is partially secured, fill ¡n total claim amount and deduction for
                                                                      professional servlces,            disputed       value of                setoff to calculate            claim
                                                                      and government                                        lclalm, if                            value    Unsecu
                                                                      contracts)                                                 secu            of collateral or setoff
  U.S. Department of                 Attn: FMS Debt                   Taxes and Fees                                                                                            $1,392,724.99
  Treasury                           Management
  FMS Debt                           Services
  Management
  Services                           Fax No.
  PO Box 979101                      (2021 622-6415
  Saint Louis, MO
  631 97-9000                        Phone No.
                                     eÙa 622-2000
  GE Aviation Engine                Attn: Gregory Ryan Trade Debt                                                                                                               ç1,372,391.47
  Service
  GE Aircraft Engines               GregJames.Ryan@
  12854 Kenan Drive                 ge.com
  Building 400
  Jacksonville, FL
  32258                             Phone No.
                                    954-292-5312
  Virgín lslands Port               Attn: Nycole                      Taxes and Fees                                                                                              $953,038.35
  Authority                         Thompson, Esq.
  PO Box 301707
  St Thomas, Vl                     nthompson@víport
  00803-1 707                       .com

                                    Fax No.
                                    (340)774-0025

                                    Phone No.
                                    (340) 774-1629 ext.
                                    6605




Off¡c¡al form   204                                   Chapter 11 or Chapter   I   Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page   1


Sofhtrare Copyr¡ght (c) 1996-2017 Bêst Case, LLC -   M.bestcase.com                                                                                                    Best Case Bankruptcy
                                           Case 18-10040-CSS                          Doc 1          Filed 01/08/18                Page 11 of 19



 Debtor SeaStar Holdings, lnc.                                                                                        Case number (if known)
            Name

 Name of creditor and              Name, telephone number           Nature of claim              lndlcate if cla¡m   Amount of clalm
 completê malllng address,        and email address       of        (for example, trade           ls contlngent,     lf the claim is fully unsecured, fill In only unsecured claim amount. lf
 includ¡ng zip code               cred¡tor contact                  debts, bank loans,           unliquidated, or    claim ¡s partially secured, fill in total claim amount and deduct¡on for
                                                                    professional serv¡ces,           disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                     Total clalm, ¡f             Deduction for value        Unsecured cla¡m
                                                                                                                     Dartiallv secured           of collateral or setoff
 Aerostar Airport                 Attn: Varlin                      Rent                                                                                                         $638,855.67
 Holdings, LLC                    Vissepo, Esq
 PO Box 38085
 San Juan, PR                     varlin.vissepo@aer
 00937-1 085                      ostarairports.com

                                   Fax No.
                                   (787',) 289-7241

                                   Phone No.
                                  fl87t 289-7240
 U.S. Customs and                 Attn: Revenue                     Taxes and Fees                                                                                               $608,005.62
 lmmigration                       Division
 6650 Telecom Drive
 lndianapolis, lN                  Fax No.
 46278                             (2021 325-4290

                                   Phone No.
                                   1   -800-877-8339
 Transportation                   Attn: Pamela Pak                  Taxes and Fees                                                                                               $552,538.40
 Security                          McMenamin
 Administration
 PO Box 530262                     Pamela.McMenami
 Atlanta, GA                       n@tsa.dhs.gov
 30353-0262
                                   Fax No.
                                   (5711 227-2904

                                   Phone No.
                                   (57U 227-3046
 Jetstream Aviation                Phone No,                        Trade Debt                                                                                                   $481,857.52
 Capital, LLC                      (3051 447-1920

                                   Fax No.
                                   (305) 447-re19



 Animal Plant &                   Attn" Laura Penner Taxes and Fees                                                                                                              $350,645.71
 Health lnspection
 Service                          laura.a.penner@ap
 U.S. Department of               his.usda.gov
 Agriculture
 1400 lndependence                Fax No.
 Avenue, S.W.                     (612) 336-3563
 Washington, DC
 20250                            Phone No.
                                  (6r2) 336-3383




Official form   204                                  Chapter   1l or Chapter 9 Cases: List   of Creditors Who Have the 20 Largest Unsecured claims                                  page 2

Software Copyright (c) 1996-2017 Best Câse, LLC -   M.bestcase.com                                                                                                     Best Câse Bankruptcy
                                            Case 18-10040-CSS                       Doc 1         Filed 01/08/18                Page 12 of 19


   Debtor SeaStar Holdings, lnc.                                                                                   Case number (¡f known)
                Name

  Name of creditor and              Name, telephone number Nature of cla¡m                    lnd¡cate ¡f claim   Amount of claim
  complete malling address,         and emaíl address of   (for example, trade                  is contingent,    lf the claim is fully unsecured, fill in only unsecured claim amount. lf
  lncluding z¡p code                cred¡tor contact       debts, bank loans,                 unliquidated, or    claim is partially secured, fi¡l in total claim amount and deduction for
                                                           professional serv¡ces,                 disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                  Total claim, if           Deduction for value        Unsecured claim
                                                                                                                  Dartiallv secured         of collateral or setoff
  C&L Aerospace                     Attn: Martin                     Trade Debt                                                                                              $340,090.31
  40 Wyoming Avenue Cooper
  Bangor, ME 04401
                                    martin.c@cla.aero

                                    Fax No.
                                    (2071 945-0992

                                    Phone No.
                                    e07t 217-6050
  McConnell Valdes                  Attn: Harry Cook,                Trade Debt                                                                                              $310,594.34
  LLC                               Esq.
  PO Box 364225
  San Juan, PR                      hoc@mcvpr.com
  00936-4225
                                    Fax No.
                                    (7871759-9225

                       Phone No.
                       (7871759-9292
  World Fuel Servíces, Attn:Andres Roque Trade Debt                                                                                                                          $257,624.01
  lnc.
  9800 N.W.41st        aroque@wfscorp.c
  Street               om
  Suite 400
  Doral, FL 33178      Fax No.
                       (305) 392 5621

                                   Phone No.
                                   1305) 428-8000
 Paradise Lending,                 Attn: Luke Buse                   Trade Debt                                                                                              $214,261.29
 LLC
 2130 E. Rancho                    lmbuse@yahoo.co
 Drive                             m
 Phoenix. AZ 85016
 Puerto Rico                       Attn: Leonardo                 Trade Debt                                                                                                 ç202,430.07
 lnfrastructure                    Torres, Esq.
 Financing
 Authority                         leonardo.torres@af
 PO Box 41207                      i.pr.gov
 San Juan, PR
 00940-1207                        Fax No.
                                   (787176s-5712

                                   Phone No.
                                   787-763-5757




Offic¡al form   204                                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2017 Best Case, LLC -   M.bestcase.com                                                                                                Best Case Bankruptcy
                                           Case 18-10040-CSS                           Doc 1         Filed 01/08/18                Page 13 of 19


 Debtor      SeaStar Holdings, lnc.                                                                                   Case number (if known)
             Name


 Name of cred¡tor and              Name, telephone number Nature of claim                        lndlcate if claim   Amount of claim
 complete malllng address,         and emall addressof    (for example, trade                     ls cont¡ngent,     lf the claim is fully unsecured, fill in only unsecured claim amount. lf
 including z¡p code                cred¡tor contact       debts, bank loans,                     unl¡quidated, or    claim ¡s partially secured, fiìl ¡n total claim amount and deduction for
                                                          professional services,                    dlsputed         value of collateral or setoff to calculate unsecured cla¡m.
                                                                                                                     Total cla¡m, ¡f           Deduction for value         Unsecured claim
                                                                                                                     Dartiallv secured         of collateral or setoff
 Aviation Civile -                 Attn: Catherine                Trade Debt                                                                                                      $196,354.43
 AGA/AGO                           Bertrand

                                   catherine.bertrand
                                   @aviation-civile.go
                                   uv.fr

                                   Fax No.
                                   05 96 51 65 58

                                   Phone No.
                                   05 96 42 25 97
 Aviation lnventory                Attn: Denise                   Leases                                                                                                           $186,820.00
 Resources                         Fernandez
 '12240 E FM 917
 Alvarado, TX 76009                Fax No.
                                   (817| 672-0064
                                   Phone No.
                                   1817) 672-0060
 Worthington                       Attn: Mike Mange               MTX                                                                                                              s174,254.56
 Aviation
 2995 Lone Oak                     Fax No.
 Circle                            (651)393{3r3
 Suite 10
 Eagan, MN 55121                   Phone No.
                                   (651) 994-1600
 Ultimate Aircraft                 Attn: James                    Trade Debt                                                                                                       $148,530.00
 Solutions LLC                     Rollington
 341   I   Merrick Gourt
 Margate, FL 33063                 Phone No.
                                   19541744-6107
 Airport Aviation                  Attn: Jose Algarin             Fraud                                                                                                            $135,839.43
 Services, Corp.
 (rMc)                            jalgarin@mgicaribe
 PO Box 37779                      .com
 San Juan, PR
 00937-0779                        Fax No.
                                   (7871791-8420

                       Phone No.
                       t787) 791-8500
 Antigua & Barbuda Attn: Geneva                                   Trade Debt                                                                                                       ç124,725.00
 lnternational Airport George
 P.O. Box 1051
 Coolidge, St.                     gh.george@abairp
 George's Antigua                  oÉauthority.com
 wt.
                                   Fax No.
                                   (2681 484-2342

                                   Phone No.
                                   t268ì 484-2300

Off¡c¡al form   204                                  Chapter 11 or Chapter   I   Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                    Page 4

Softwarê Copyr¡ght (c) 1996-2017 Best Case, LLC -   M.bestcase.com                                                                                                       Best Case Bankruptcy
                                            Case 18-10040-CSS                         Doc 1      Filed 01/08/18                 Page 14 of 19


 Debtor SeaStar Holdings, lnc.                                                                                     Case number (if known)
            Name

 Name of cred¡tor and             Name, telephone number        Nature of claim               lndicate lf claim   Amount of claim
 complete malllng address,        and emall address of          (for example, trade            ls contingent,     lf the cla¡m is fully unsecured, fill in only unsecured claim amount. lf
 includ¡ng zip code               credltor contact              debts, bank loans,            unliquidated, or    claim is partially secured, flll in total claim amount and deduct¡on for
                                                                    professional services,        disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                  Total claim, ¡f           Deduction for value        Unsecured clalm
                                                                                                                  oartiallv secured         of collaterâl ôr setôff
 VIPA PFC'S                       Attn: Nycole                  Taxes and Fees                                                                                                $113,290.92
 P.O. Box 301707                  Thompson, Esq
 St Thomas, Vl
 00803-1707                       Email
                                  nthompson@viport
                                  ,com

                                  Fax No.
                                       774-0025
                                  (340',)


                                  Phone No.
                                  (3401 774-1629 ext.
                                  6605




OfÍicial lolm 204                                Chapter 11 or Chapter 9 Cases: List of C¡'editors Who Have the 20 Largest Unsecured claims                                      Page 5

Software Copyr¡ght (c) 1996-2017 Best Case, LLC - ww.bestcase.com                                                                                                   Best Case Bankruptcy
                                Case 18-10040-CSS                         Doc 1         Filed 01/08/18              Page 15 of 19




 Flll ln thls lnformation to ldentify the case

 Debtor    name Seaborne Virgin lslands, lnc.
 United States Bankruptcy Court for the:           DISTRICT OF DELAWARE

 Case number      (if known)

                                                                                                                               f-l   Check if this is an
                                                                                                                                     amended fìling



Official Form 202
Declaration Under Penalty of Perj ury for Non-lndividual Debtors                                                                                           12115


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationsh¡p to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING   * Bankruptcy fraud ¡s a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonmentfor up to 20 years, or both. l8 U.S.C. $S f 52, 1341,
1519, and 3571,



                 Declaration and signature


       I am the president, another officer, or an author¡zed agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor ¡n th¡s case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/8 j Assefs-Re al and Personal Property (Official Form 2064/8)
                  Schedule D: Creditors Who Have Claims Secured by Property (Otftcial Form 206D)
                  Schedule E/F: Cred¡tors Who Have Unsecured C/arms (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-lndividuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter I Casesr Lls¿ of Creditors Who Have the 20 Largest Unsecured Claims and Are A/ol /nsrders (Official Form 204)
                  Other document that requ¡res a declaration

       I   declare under penalty of perjury that the foregoing is true and correct,

           Executed   on       January 8,2018                     x     4ã-
                                                                      Signature of individual signing on behalf of debtor

                                                                      Matthew Foster
                                                                      Printed name

                                                                      Ghief Restructurin g Officer
                                                                      Position or relationship to debtor




Official Form   202                                         Declaration Under Penalty of Perjury for Non-lndividual Debtors
Software Copyright (c) 1996-2017 Best Case, LLC - w.bestcase.æm                                                                                Best Case Bankruptcy
                    Case 18-10040-CSS     Doc 1    Filed 01/08/18     Page 16 of 19



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


  In re                                                Chapter   11


  SEABORNE VIRGIN ISLANDS, INC.,                       Case   No.   18-_C=-)
  d/b/a SEABORNE AIRLINES
                                                       Tax I.D. No. XX-XXXXXXX
                           Debtor


    STATEMENT OF CORPORATE O\ryNERSHIP PURSUANT TO RULES 1007(a)(1)
       AND 7007.1 c)F' FEDERAL RULES OF' BANKRI  Y PROCEDURE

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

and to enable the Judges to evaluate possible disqualification or recusal, the Debtor and Debtor-

In-Possession (the "Debtor") hereby disclose that the following are corporations, other than the

Debtor or a governmental unit, that directly or indirectly own ten percent (10%) or more of any

class of the Debtor's equity interests:




                           SeaStar Holdings, Inc.
                           V/orld Plaza Building, 9th Floor
                           268 Munoz Rivera Avenue
                           San J   Puerto Rico 00918




{r r82.00r-w0049900.}
                                 Case 18-10040-CSS                       Doc 1         Filed 01/08/18              Page 17 of 19




  Flll ln thls lnformatlon to ldentlfy the case
  Debtor    name Seaborne Virqin lslands , lnc,
  United States Bankruptcy Court for the                DISTRICT OF DELAWARE

  Case number       1if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



 Official Form 202
 Declaration Under Penalty of Perju ry for Non-lndividual Debtors                                                                                        12t15

 An individualwho is authorized to act on behalf of a non-individual debtor, such as a corporation or partnersh¡p, must sign and submit this
 form for the schedules of assets and l¡ab¡lities, any other document that requires a declaiation that ii not incluáed in the-document, and any
 amendments of those documents. This form muststate the individual's position or relat¡onship to the debtor, the ident¡ty of the doóument,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING   - Bankruptcy fraud is a serious crime. Making a false statement, conceal¡ng property, or obtaining money or property by fraud in
 connection w¡th a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. f e U.S.C.
                                                                                                                              $g f lZ,-rS+f ,
 1519, and 3571.



                  Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnersh¡p; or another
         individual serv¡ng as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                    Schedule A/8r ,Assefs-Re al and Personal Property (Olficial Form 206A/8)
                    Schedule D: Creditors Who Have Ctaims Secured by propeñy (Official Form 206D)
                    Schedule E/F: Cred¡tors Who Have Unsecured C/alms (Official Form 206E/F)
                    Schedule G: Executory Contracts and unexpired Leases (Official Form 206G)
                    Schedule H: Codebtors (OffÌcial Form 206H)
                    Summary of Assets and Liabilit¡es for Non-lndividuals (Official Form 206sum)
                    Amended Schedule
                    Chapter 1 1 or Chapter g Cases; Lrsf of Creditors Who Have the 20 Largest Unsecured Claims and Are lr/of /nslders (Official Form 204)
                    Other document that requires a declaration      Goporate Ownershi p Statement

        I declare   under penalty of perjury that the foregoing is true and correct.

         Executed     on      January       I   2018                .*
                                                                     Signature of individual signing on behalf of debtor

                                                                     Matthew Foster
                                                                     Printed name

                                                                     Chief Restructuri        Officer
                                                                             or              to debtor




Official Form   202                                           Declaration Under Penalty of Perjury for Non-lndividual Debtors
Software Copyright (c) 1996-2017 Best Case, LLC -   M.bestøse.com                                                                           Best Case Bankruptcy
                    Case 18-10040-CSS          Doc 1    Filed 01/08/18       Page 18 of 19



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF'DELAWARE


    In re:                                                  Chapter   11


    SEABORNE VIRGIN ISLANDS, INC.,                          Case   No. 18-
    d/bia SEABORNE AIRLINES
                                                            Tax I.D. No. XX-XXXXXXX
                              Debtor.



                               LIST OF EOUITY                      HOLDERS

             The following is a list of debtor Seaborne Virgin Islands, Inc.'s equity security holders.

This list has been prepared in accordance with Fed. R. Bankr. P. 1007(a)(3) for filing this chapter

1   1 case.


                    SeaStar Holdings, Inc.
                    World Plaza Building,9th Floor
                    268 Munoz Rivera Avenue
                    San Juan, Puerto Rico 00918
                    (100%)




{1182.001-W004990r.}
                                 Case 18-10040-CSS                       Doc 1          Filed 01/08/18            Page 19 of 19




 F¡ll ln thls lnformatlon to ldentlfy the case:

 Debtor   name Seaborne Virgin lslands, lnc
 United States Bankruptcy Court for the:           DISTRICT OF DELAWARE

 Case number       (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 202
 Declaration Under Penalty of Periu ry for Non-lndividual Debtors                                                                                            12115


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form muststate the individual's position or relat¡onship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011,

WARNING       -   Bankruptcy fraud is a ser¡ous crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connectionwithabankruptcycasecanresult¡nfinesupto$S00,000orimprisonmentforupto20years,orboth.                         18U.S.C,SSl52, 1341,
I 51 9, and 3571.



                  Declaration and signature


        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representat¡ve of the debtor in th¡s case.

        I have examined the        information in the documents checked below and I have a reasonable belief that the information is true and correct:

                   Schedule      A/8; Assefs-Real and Personal Properly (Official Form 2064/8)
                   Schedule      D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                   Schedule      E/F: Creditors Who Have Unsecured C/alms (Official Form 206EiF)
                   Schedule      G: Executory Contracts and Unexpired Leases (Official Form 206G)
                   Schedu/e      H: Codebtors (Official Form 206H)
                   Summary       of Assets and L¡ab¡lities for Non-lnd¡vlduals (Official Form 206Sum)
                   Amended Schedule
                   Chap ter 1 1 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are ¡Vof /nslders (Official Form 204)
                   Other document that requires a declaration List of Equitv Securitv H olders

       I declare under     penalty of perjury that the foregoing is true and correct.

        Executed     on         January 8,2018                   x
                                                                     Signature of individual signing on behalf of debtor

                                                                     Matthew Foster
                                                                     Printed name

                                                                     Chief Restructuri         Officer
                                                                     Position or relationship to d




Official Form 202                                          Declaration Under Penalty of Perjury for Non-lndividual Debtors
Software Copyright (c) 1996-20'17 BestCasê, LLC - M.best@se.@m                                                                                  Best Case Bankruptcy
